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                             UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA

       v.                                           Criminal Case No. 18-30001-WGY

 (6) DAPHNE MOORE,

        Defendant

            RESPONSE TO DEFENDANT MOORE’S RENEWED MOTION
    FOR EVIDENTIARY HEARING ON DERIVATIVE EVIDENCE AND SUPPRESSION
     OF EVIDENCE DERIVED FROM FRUITS OF POLE CAMERA SURVEILLANCE

       The United States of America, by and through Andrew E. Lelling, United States Attorney

for the District of Massachusetts, and Katharine A. Wagner and Amy Harman Burkart, Assistant

United States Attorneys, hereby respectfully responds to defendant Daphne Moore’s Renewed

Motion for Evidentiary Hearing on Derivative Evidence and Suppression of Evidence Derived from

Fruits of Pole Camera Surveillance (Docket Entry No. 426). The government has filed a notice of

appeal of the Court’s Amended Order allowing defendant Moore’s motion to suppress pole camera

evidence (Docket Entry No. 422). (See Docket Entry No. 427.) Consideration of defendant Moore’s

Renewed Motion is therefore not ripe at this time. The government reserves the right to respond to

defendant’s Renewed Motion at such time as the anticipated appellate proceedings have concluded.

                                            Respectfully submitted,

                                            ANDREW E. LELLING
                                            United States Attorney

                                     By:    /s/ Katharine A. Wagner
                                            KATHARINE A. WAGNER
                                            AMY HARMAN BURKART
                                            Assistant United States Attorney

Submitted: June 6, 2019

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                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                      By:     /s/ Katharine A. Wagner

                                              KATHARINE A. WAGNER
                                              Assistant United States Attorney

Submitted: June 6, 2019




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